         Case 2:17-cv-01434-JFC Document 703 Filed 07/09/21 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 ARCONIC INC.,                                :
                                              :     Civil Action No. 2:17-cv-1434-JFC
                       Plaintiff,             :
                                              :
        v.                                    :     Senior District Judge
                                              :     Joy Flowers Conti
 NOVELIS INC.,                                :
                                              :
 and                                          :
                                              :
 NOVELIS CORP.,                               :
                                              :
                       Defendants.            :

 ARCONIC RESPONSE TO NOVELIS’ MOTION TO JOIN ARCONIC CORP. AND FOR
           LEAVE TO FILE SECOND AMENDED COUNTERCLAIMS


       Plaintiff Arconic Inc. (“Arconic”) hereby notifies the Court that it does not oppose the relief

Novelis seeks in its motion to join Arconic Corp. and file second amended counterclaims (Dkt.

696). Arconic does not agree with the statements or arguments presented in Novelis’ motion or the

substance of Novelis’ proposed amended counterclaims. Arconic reserves all rights to challenge the

allegations included in Novelis’ second amended counterclaims.



Dated: July 9, 2021                               Respectfully submitted,

                                                  /s/ Caroline M. Walters




                                                   1
       Case 2:17-cv-01434-JFC Document 703 Filed 07/09/21 Page 2 of 3




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                                          2
         Case 2:17-cv-01434-JFC Document 703 Filed 07/09/21 Page 3 of 3




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on July 9, 2021, the foregoing document was

electronically served and filed by use of the court’s ECF system.

                                                            /s/ Caroline M. Walters




                                                3
